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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

SHEBA ETHIOPIAN RESTAURANT,       *
INC. d/b/a Queen of Sheba         *
Ethiopian Restaurant,             *
                                  *
     Plaintiff,                   *
                                  *      CIVIL ACTION FILE
     -vs-                         *
                                  *      No. 1:17-cv-04400-SCJ
DEKALB COUNTY, GEORGIA,           *
JEFF RADER, KATHIE GANNON,        *
JOSEPH COX, JOHN JEWETT,          *      JURY TRIAL DEMANDED
ANDREW A. BAKER, ZACHARY L.       *
WILLIAMS, and DAVID ADAMS,        *
all in their individual and       *
official capacities,              *
                                  *
     Defendants.                  *

                     PLAINTIFF’S RESPONSE TO
                  DEFENDANTS’ MOTION TO DISMISS

     I. Introduction.

     In moving to dismiss certain claims, the defendants

contend primarily that this action is barred by res

judicata.   They are incorrect.       Because no state court has

ever adjudicated the merits of the claims raised in this

complaint, Georgia’s res judicata does not apply.          The

thrust of this case is that the County is enforcing its

fire, building, and alcohol ordinances in selective fashion,

targeting those businesses which cater to an African-based

clientele for heightened enforcement.        Even though the

allegations plausibly state claims challenging this
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practice, Sheba will seek leave to amend its complaint in

order to develop the factual allegations.

     II.   Argument.

     A.    Sheba’s complaint is not barred by res
           judicata.

     The defendants argue that res judicata bars Sheba’s

claims because Sheba filed state-court actions concerning

the County’s administrative decisions before commencing this

federal civil rights action.      This argument fails because

the defendants are unable to demonstrate the elements of res

judicata, in that (1) Sheba’s claims are not based on “the

same cause of action” in light of significant changes in

material facts that occurred between the now-dismissed

state-court lawsuits and this federal suit, (2) there has

not been a previous adjudication on the merits by a court of

competent jurisdiction, and (3) Sheba did not have a full

and fair opportunity to litigate its claims in the

state-court proceedings.      This federal civil rights lawsuit

action is not precluded by res judicata.

     1.    The test for res judicata.

     In determining the proper preclusive effect in federal

court of a state court decision, a federal court is to apply

the state court rule of preclusion.        Cmty. State Bank v.


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Strong, 651 F.3d 1241, 1263 (11th Cir. 2011).         Under Georgia

law, three prerequisites must be met before res judicata

might apply: (1) identity of the cause of action; (2)

identity of the parties or their privies; and (3) previous

adjudication on the merits by a court of competent

jurisdiction.    Waldroup v. Greene Cty. Hosp. Auth., 265 Ga.

864, 866 (1995).    For the third prong of this test to be

met, the judgment must be final.        Blocker Farms of Fla.,

Inc. v. Buurma Properties, LLC, 654 F. App’x 402 (11th Cir.

2016)(citing O.C.G.A. § 9–12–40 and Mitchell v. Mitchell, 97

Ga. 795, 25 S.E. 385, 386 (1896), for the proposition that

“It is only a final judgment upon the merits which prevents

further contest upon the same issue....”).         “[T]he party

against whom the doctrine of res judicata is raised must

have had a full and fair opportunity to litigate the issues

in the first action.”     Fowler v. Vineyard, 261 Ga. 454,

455–56 (1991).    All of these elements must be demonstrated

by the party who asserts that res judicata applies.

     2.    The claims are not based on “the same
           cause of action” because of significant
           changes in material facts.

     In Georgia, res judicata requires a showing of “an

identity of causes of action.”         Lilly v. Heard, 295 Ga. 399,

403 (2014).   A cause of action has been defined as “the

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entire set of facts which give rise to an enforceable

claim.”   Id. (emphasis added).        The Georgia Supreme Court

has held that “[w]here some of the operative facts necessary

to the causes of action are different in the two cases, the

later suit is not upon the same cause as the former,

although the subject matter may be the same, and even though

the causes arose out of the same transaction.”          Morrison v.

Morrison, 284 Ga. 112, 116 (2008)(citations omitted); see

also Cheshire Bridge Holdings, LLC v. City of Atlanta,

Georgia, 1:15-CV-3148-TWT, 2018 WL 279288, at *4 (N.D. Ga.

Jan. 3, 2018)(“Former judgments do ‘not prevent a

re-examination even of the same questions between the same

parties, if in the interval the material facts have so

changed or such new events have occurred as to alter the

legal rights or relations of the litigants.”).

     Here, there has been a meaningful change in material

facts between the previous, now-dismissed state-court

filings (Sheba I1 and Sheba II2) and the current, federal

action.   On April 21, 2017, Sheba lost its business license,



     1
       Sheba Ethiopian Restaurant, Inc. v. DeKalb County,
Case No. 17CV4864-9 (Ga. Super. Ct. Apr. 28, 2017).
     2
       Sheba Ethiopian Restaurant, Inc. v. DeKalb County,
Case No. 17CV7588-9 (Ga. Super. Ct. July 13, 2017).

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certificate of occupancy (“CO”), and grandfathered zoning

status.      Notably, the CO and grandfathered status were

revoked largely on the fact that Sheba had lost its business

license.

        Sheba initially challenged the County’s actions by

filing Sheba I on April 28, 2017, which was voluntarily

dismissed on July 5, 2017.      Sheba II was filed on July 13,

2017.    On July 24, 2017, the Certificate Review Board

reversed the revocation and denial of Sheba’s business

license.     This nullified one of the primary grounds for

revocation of Sheba’s CO and grandfathered status.          This

constitutes a meaningful change to “the entire set of facts”

that obtained during the pendency of its first state court

lawsuit or its second.      These developments meaningfully

change the position of the parties such that there is no

“identity of causes of action” under Georgia law.          Compare

with Lilly, 295 Ga. at 403–404 (identity of causes of action

existed where plaintiffs “did not allege any change” in

operative facts between two lawsuits)(emphasis added).

        3.    Sheba never had a full and fair
              opportunity to litigate its claims in
              the previous state-law proceedings.

        Claim preclusion applies only “when a party has had a

‘full and fair opportunity to litigate’ the claims and

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issues settled in a previous suit.”        Morris v. May, 570 F.

App’x 903, 905 (11th Cir. 2014)(quoting Taylor v. Sturgell,

553 U.S. 880, 892–93 (2008)); Sorrells Const. Co. v.

Chandler Armentrout & Roebuck, P.C., 214 Ga. App. 193, 194

(1994)(“[C]laim preclusion will bar a plaintiff’s action if

... the plaintiff had a full and fair opportunity to

litigate the other action....”).

     Sheba brought previous causes of action in state court.

Sheba I sought a writ of mandamus and equitable relief;

Sheba II was brought as an action for certiorari, a limited

statutory proceeding under Georgia law.        Due to the nature

of those actions, and the procedural shortcomings of the

underlying Zoning Board of Adjustment proceedings, neither

action afforded the Sheba a full and fair opportunity to

litigate its claims.     This presents a separate and

independently sufficient ground for rejection of the

defendants’ contention that the federal suit is precluded.

     I.    Sheba I did not present a “full and
           fair” opportunity because it was an
           action for mandamus filed before a
           meaningful change in material facts.

     Georgia courts have held that a change in circumstances

may bring about a plaintiff’s first full and fair

opportunity to litigate.      See Executive Fitness, LLC v.


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Healey Bldg. Ltd. P’ship, 290 Ga. App. 613 (2008)(landlord

did not have full and fair opportunity to litigate its right

to payments that had not yet become due at the time of its

first judgment against tenant, where lease was still in

effect at the time the first suit was commenced, and the

rent sought in the second suit had not yet accrued.).

     When Sheba’s mandamus petition (Sheba I) was filed,

Sheba’s business license had not yet been restored.          As

described above, Sheba’s CO and grandfathered status were

revoked largely on the basis of the fact that Sheba had lost

its business license.     Later the CRB reversed the revocation

and denial of Sheba’s business license.        This effectively

nullified one of the primary grounds for revocation of

Sheba’s certificate of occupancy and grandfathered status.

Without the benefit of this crucial fact, Sheba did not have

a full and fair opportunity to litigate.

     Most critical here, Sheba I was voluntarily dismissed.

Even if the Sheba I proceeding would or could have provided

a full and fair opportunity to vet the claims Sheba seeks to

raise here, Sheba I was dismissed without prejudice, and

there was no final judgment on the merits in that case.

This element of res judicata is missing, too.

     ii.   The Sheba II certiorari proceeding did

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             not present a “full and fair”
             opportunity to litigate because it is
             based on the limited ZBA record below.

     In Sheba II the scope of review on certiorari was

limited to those errors raised and presented for decision in

the lower tribunal and raised in the petition.          See Willis

v. Jackson, 148 Ga. App. 432, 434 (1978).         These limitations

prevented Sheba from having a full and fair opportunity to

litigate its claim.

     The certiorari action is a “special statutory

proceeding” under Georgia’s Civil Practice Act.          Buckler v.

DeKalb County, 290 Ga. App. 190, 191 (2008).         It is the

remedy for “the correction of errors committed by any

inferior judicatory or any person exercising judicial

powers....”    O.C.G.A. § 5-4-1(a).       A petition for writ of

certiorari is the exclusive means by which a petitioner can

challenge a judicial or quasi-judicial decision by a “lower

tribunal.”    See Soerries v. City of Columbus, 222 Ga. App.

745, 745 (1996).

     For preclusion purposes, the certiorari proceeding in

Sheba II was limited to the County’s denial of Sheba’s loss

of the CO and grandfathered status.         Hearings before the

Zoning Board of Appeals, however, allow for only limited

factual and legal development.         The appeal process allows

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for submissions on such matters including allegations of

“error in any final order, requirement, or decision made by

an administrative official based on or made in the

enforcement of the county's zoning ordinance, or as

otherwise authorized by applicable law.”         DeKalb Cty. Code

Sec. 1131(a).    The ZBA’s duty is to “to review such facts

and evidence in light of the intent of the county's zoning

ordinance to balance the public health, safety, and general

welfare.”   DeKalb Cty. Code Sec. 1131(d).

     Sheba could not meaningfully present its federal

constitutional arguments in the state court proceedings

filed before this action.      When Sheba II was filed, the CRB

had not yet reversed the denial and revocation of Sheba’s

business license; these facts were not (and could not be)

part of the record that went up to the Superior Court for

the certiorari proceeding.      In light of the limited factual

and legal development involved in the ZBA proceedings —

which formed the basis for Sheba’s previous, now-dismissed

state court actions — Sheba never had a full and fair

opportunity to litigate its claims.

     Once Sheba began to pursue certiorari, which is the

only state remedy for challenging the ZBA decision, it had

no choice on the scope of relief available.         The certiorari

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proceedings are too limited to litigate its claims for equal

protection claim based on selective enforcement against

other Ethiopian-owned businesses.       As described in the

complaint, Sheba is not the only business owned or

patronized by Africans and African-Americans that has been

targeted for unequal enforcement by the County:

     •    In December 2015, the Day and Night restaurant,

          which catered to a predominantly African-American

          clientele, was forced to close. [Doc. 1, ¶ 69.]

     •    In April 2016, the Ledet Restaurant (aka “Aroma

          Lounge”), which catered to a predominantly

          African-American clientele, was forced to close.

          [Doc. 1, ¶ 70.]

     •    Six other Ethiopian establishments have been

          targeted by the defendants.       Some were forced to

          move or close permanently. v[Doc. 1, ¶ 71.]

     These facts were not amenable to litigation in the

certiorari proceeding, which is limited solely to the matter

of Sheba’s individual licensing issues.

     Like Sheba I, and critical here too, Sheba II was

voluntarily dismissed.     Even if the Sheba II proceeding

would or could have provided a full and fair opportunity to

vet the claims Sheba seeks to raise here (and it could not),

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Sheba I was dismissed without prejudice, and there was no

final judgment on the merits in that case.

     B.     In light of sovereign immunity, Sheba

            stipulates to dismissal of claims 1–3

            (except mandamus) to the extent they

            pertain to officials in their official

            capacity.

     Sheba agrees to dismiss claims 1–3 (except mandamus)

solely to the extent that claims 1–3 apply to county

officials who are named in their official capacity.          Sheba

agrees to this dismissal in light of counties’ sovereign

immunity.   See Gilbert v. Richardson, 264 Ga. 744, 747

(1994)(extension of sovereign immunity to the state and its

departments and agencies must also apply to counties).

     C.     Sheba’s complaint establishes

            constitutional violations, including

            several ignored by defendants’ dismissal

            brief.

     Contrary to the defendants’ position, Sheba’s complaint

properly alleges violations of the right to due process.

Second, the defendants fail to even address Sheba’s claims

for violation of its rights to equal protection and free

speech.

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     1.   Due Process.

     In Count 2, Sheba presents a claim against the County

for violating Sheba’s right to procedural due process.            The

defendants correctly assert that to state a procedural due

process claim, Sheba must show that state remedies are

inadequate to remedy the alleged procedural defect.          See

Cotton v. Jackson, 216 F.3d 1328, 1331 (11th Cir.

2000)(quoting McKinney v. Pate, 20 F.3d 1550, 1557 (11th

Cir. 1994)(en banc)(“only when the state refuses to provide

a process sufficient to remedy the procedural deprivation

does a constitutional violation actionable under Section

1983 arise.”)).

     Yet the prior proceedings did not afford a

constitutionally adequate process for Sheba to raise its

federal claims.    A fundamental requirement of due process

“is the opportunity to be heard and it is an ‘opportunity

which must be granted at a meaningful time and in a

meaningful manner.’”     Parratt v. Taylor, 451 U.S. 527, 540

(1981).

     On March 25, 2017, the County’s fire marshal issued

“Notice of Fire Hazard” to Sheba requiring it to shut down

immediately.   Sheba had no pre-deprivation opportunity to

contest this, and it has since suffered damages as a result.

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The previous state-court proceedings were limited such that

they did not afford Sheba with adequate process to contest

the broader constitutional violations addressed in its

federal complaint. (As described above, these include an

equal protection claim supported by and demonstrating

broad-based selective enforcement against other

African-owned businesses.)

     Finally, the defendants incorrectly argue that Sheba is

estopped from asserting that certiorari was an inadequate

state remedy.   This contention relies on a faulty definition

of estoppel.    The doctrine of judicial estoppel bars parties

from asserting “[i]nconsistent positions in successive

litigation.”    Wright and Miller’s Fed. Prac. & Proc. Juris.

§ 4477 (2d ed.).    It precludes a party from asserting a

position in one judicial proceeding which is inconsistent

with a position successfully asserted by the party in an

earlier proceeding, in order to “prevent the perversion of

the judicial process” and “protect [its] integrity ... by

prohibiting parties from deliberately changing positions

according to the exigencies of the moment.”         Slater v.

United States Steel Corp., 871 F.3d 1174, 1180 (11th Cir.

2017).

     In this case, Sheba has never asserted contrary

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positions in successive litigation.       Rather, Sheba’s federal

lawsuit seeks redress of constitutional rights violated by

the defendants.    Including additional federal claims is not

contrary to Sheba’s position in earlier, inadequate

proceedings.    Therefore estoppel does not apply.

     2.    The constitutional violations ignored by

           the defendants’ motion.

     The defendants fail to address a few constitutional

claims advanced by Sheba – namely, violations of Sheba’s

rights to free speech and equal protection.         Each of these

claims constitute separate grounds for adjudication. See

Soldal v. Cook County, 506 U.S. 56, 70 (1992)(“Where such

multiple violations are alleged, [courts should] examine

each constitutional provision in turn.”).        The defendants’

failure to address these additional claims defeats their

motion that Sheba’s suit should be dismissed.

               Count 1: Equal Protection Violations

     The Equal Protection clause is “essentially a direction

that all persons similarly situated be treated alike.”            City

of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439

(1985).   The Supreme Court has held that an individual’s

assertion that she was irrationally and arbitrarily singled

out by governmental officials stated a proper “class of one”

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claim under the Equal Protection clause.        See Village of

Willowbrook v. Olech, 528 U.S. 562 (2000).        To prevail on a

“class of one” claim, the plaintiff will have to show (1)

they were intentionally treated differently from others who

were “similarly situated” and (2) that there is no rational

basis for the difference in treatment.        Grider v. City of

Auburn, Ala., 618 F.3d 1240, 1265 (11th Cir. 2010).

     Sheba has properly alleged a “class of one” claim under

the Equal Protection Clause:

     the County has discriminated against Sheba by
     allowing similarly situated venues to obtain and
     retain those certificates and licenses necessary
     to operate a late night establishment, even though
     such venues have offended identical sections of
     the County’s Codes, and this disparate treatment
     is based on an animosity toward Sheba and
     otherwise serves no rational purpose[.]

[Doc. 1, ¶ 82(a).]    Sheba has provided a list of

comparators, i.e., other alcohol-licensed restaurants who

serve primarily a white clientele.       [Doc. 1, ¶¶ 73-75.]

This is required for a class-of-one claim.        Sheba has also

alleged that the defendants have targeted their business for

reasons of racial or ethnic animus, as required for the more

familiar selective enforcement claims.        [Doc. 1, ¶¶ 68–71;

82(b)–(c).]   Sheba intends to seek leave to amend their

complaint, where they will offer additional facts


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establishing enforcement based on racial and ethnic animus.

                 Count 3: Free Speech Violations

     Sheba intends to seek leave to amend its complaint, and

to further develop these factual allegations in an amended

complaint.

     D.      Sheba intends to seek leave to amend its

             complaint in order to address the

             defendants’ “shotgun pleading” grounds

             for dismissal.

     The defendants seek to dismiss Sheba’s complaint on the

basis that it is a “shotgun pleading.”        Sheba will seek

leave to amend its complaint in order to address this

contention.

     E.      Sheba seeks to amend its complaint to

             establish its conspiracy claim.

     After filing its federal complaint, Sheba gathered

additional evidence to support its conspiracy claim.          Sheba

will seek leave to amend its complaint in order to further

plead these allegations.

     F.      Sheba’s § 1983 claim is properly alleged

             under Monell because county ordinances,

             and their execution, caused Sheba harm.

     The defendants assert that Sheba has failed to show

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that an official policy or custom caused the constitutional

violations alleged in its complaint.       To the contrary, Sheba

has asserted that its injuries were caused by the defendants

in the most straightforward possible manner, as required by

Monell v. N.Y. Department of Social Svs., 436 U.S. 658

(1978).   In Monell the Supreme Court held that “[l]ocal

governing bodies can be sued directly under § 1983 ... where

... the action that is alleged to be unconstitutional

implements or executes [an] ordinance ... officially adopted

and promulgated by that body’s officers.”        Id. at 690.

     Section 1983 municipal liability may be imposed when

(1) the enforcement of a municipal policy or custom was (2)

“the moving force” of the violation of federally protected

rights.   Bd. of Cty. Comm’rs of Bryan Cty., Okl. v. Brown,

520 U.S. 397, 404 (1997).     If these two requisites are

satisfied, a single unconstitutional act taken by a

municipal employee provides a sufficient basis for imposing

§ 1983 liability upon the entity.       Pembaur v. Cincinnati,

475 U.S. 469, 478 n.6 (1986).

     Here, the County’s numerous unconstitutional acts and

policies have caused Sheba harm, within the meaning of

Monell.   See Doc. 1, ¶ 87 (“The County’s ordinances give the

fire marshal and building inspector to [deprive Sheba of

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property rights and liberty interests]”); ¶ 92 (“the

County’s [ordinances] are vague facially and as applied to

Sheba”).   Therefore Sheba has properly alleged its claim

under Monell.

     G.    Sheba intends to address qualified

           immunity in a subsequent amended

           complaint.

     Since filing this federal complaint, Sheba has gathered

additional evidence demonstrating that the defendants do not

have qualified immunity for the harms inflicted on Sheba.

Based on this new evidence, Sheba will seek leave to amend

its complaint in order to develop these factual allegations.

     H.    Sheba intends to address official immunity in

           a subsequent amended complaint.

     After filing its federal complaint, Sheba gathered

additional evidence to demonstrate that the defendants do

not have official immunity for the harms inflicted on Sheba.

Sheba intends to seek leave to amend its complaint in order

to develop these factual allegations.

     III. Conclusion.

     For these reasons, Sheba respectfully asks the Court to

deny the defendants’ motion to dismiss.

     This 13th day of July, 2018.

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                                  Respectfully submitted,

                                  WIGGINS LAW GROUP


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                     CERTIFICATE OF SERVICE

     I certify that on this date, I electronically filed

this PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION TO DISMISS

with the Clerk of the Court using the CM/ECF system which

will automatically send email notification of such filing to

the following attorneys of record:


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This 13th day of July, 2018.



                            By: /s/ Cary S. Wiggins
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